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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE THE COMPLAINT AND C.A. no.\O ~ \12]
PETITION OF TRITON ASSET LEASING
GmbH, TRANSOCEAN HOLDINGS LLC,
TRANSOCEAN OFFSHORE DEEPWATER
DRILLING INC., AND TRANSOCEAN
DEEPWATER INC.,AS OWNER, MANAGING
OWNERS, OWNERS PRO-HAC VICE,
AND/OR OPERATORS OF THE MODU
DEEPWATER HORIZON, IN A CAUSE FOR §

EXONERATION FROM OR LIMITATION | §
° OF TIABIGITY —0 0 ongNADMIRALTY

Fed. R. Civ, P. 9(h)

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A Complaint and Petition having been filed herein on the |" __ day of May, 2010,
by Petitioners Triton Asset Leasing GmbH, Transocean Holdings LLC, Transocean Offshore
Deepwater Drilling Inc., and Transocean Deepwater Inc., as Owner, Managing Owners, Owners
Pro Hac Vice, and/or Operators, of the MODU Deepwater Horizon, her engines, gear, tackle,
appurtenances, etc., claiming the benefit of Limitation of Liability as provided for in the Act of
Congress entitled “An Act to Limit Liability of Shipowners and for Other Purposes” passed
March 3, 1851, now embodied in 46 U.S.C.A. §§ 30501, et seq., and the statutes supplementary
thereto, and amendatory thereof, and Rule F of the Supplemental Rules for Certain Admiralty
and Maritime Claims of the Federal Rules of Civil Procedure, and also contesting their liability
independently of the limitation of liability claim under said Act for any loss, damage, personal
injuries, death, pollution, environmental damage or destruction resulting from or arising during
the voyage described in said Complaint and Petition, including, without limitation, any claims

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asserted under the Oil Pollution Act, 33 U.S.C. § 2701, et seq. for hydrocarbons emanating from
the sea floor, which commenced on January 30, 2010, in federal waters in the vicinity of
Mississippi Canyon Block 727 and which terminated on or about April 22, 2010, in the vicinity
of Mississippi Canyon Block 252, and said Complaint and Petition also stating the facts and
circumstances on which such exoneration from and limitation of liability are claimed:

And on hearing counsel for Petitioners and on considering the Complaint and Petition,

the affidavits of value and pending freight attached thereto; and the Court having found adequate

_.. factual support’ that ‘the ‘value of Petitioners’ interéest_in the said “vessel and_its then_pending.. |. --

freight at the end of the said voyage does not exceed TWENTY-SIX MILLION, SEVEN
HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-THREE AND NO/100 DOLLARS
($26,764,083.00);

And the Court having Ordered Petitioners to file an Ad Interim Stipulation in the amount
TWENTY-SIX MILLION, SEVEN HUNDRED SIXTY-FOUR THOUSAND AND EIGHTY-
THREE AND NO/100 DOLLARS ($26,764,083.00) with Ranger Insurance Company acting as
surety, and Petitioners having filed such Ad Interim Stipulation and the Court having approved
the Ad Interim Stipulation executed by Petitioners as principal and Ranger Insurance Company
as surety, with interest at 6% per annum from its date, and with both Petitioners and their surety
subject to such increases and decreases in the amount of such Ad Interim Stipulation as the Court
may from time to time order, undertaking to pay into the Court’s registry within ten (10) days
after the entry of an Order confirming the report of the commissioner, if one be appointed, to
appraise the amount or value of Petitioners’ interest in the MODU Deepwater Horizon and her

then pending freight, the aggregate amount or value of such interest as thus ascertained, or to file

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in this proceeding a bond or Stipulation for Value in the usual form with surety in said amount,
or agreeing to permit the Ad Interim Stipulation to stand as a Stipulation for Value if found
sufficient in amount, or if the amount thereof be not contested; and that pending payment into
Court of the amount or value of Petitioners’ interest in the said MODU Deepwater Horizon and
her then pending freight, as ascertained, or the giving of a stipulation for the value thereof, the
said Ad Interim Stipulation shall stand as security for all claims in the limitation proceeding;

Now on motion of Attorney-in-Charge for Petitioners, it is hereby,

"7" -~-ORDERED; that's Moiitiot issue out of and under the seal ‘of this Court directing that’ “"""

Notice be provided all persons claiming damages for any and all losses, injuries, damages and
destruction of property occasioned during the voyage of the MODU Deepwater Horizon as
alleged in the said Complaint and Petition, which commenced on January 30, 2010, in federal
waters in the vicinity of Mississippi! Canyon Block 727 and which terminated on or about April
22, 2010, in the vicinity of Mississippi Canyon Block 252, and citing them to file their respective
claims with the Clerk of this Court and serve on or mail a copy thereof to Attorney-in-Charge for
Petitioner on or before the [Sibi of Méive Mk . , 2010, at his offices, Prank
A, Piccolo, Preis & Roy, A.P.L.C., Wesleyan Tower, 24 Greenway Plaza, Suite 2050, Houston,
Texas 77046, or be forever barred, subject to the rights of any person or persons claiming
damages as aforesaid, who shall have presented his, their or its claim under oath to answer said
Complaint and Petition and to controvert or question the same; and it is further,

ORDERED, that public Notice of such Complaint and Petition shall be given by
publication thereof in the Houston Chronicle, a newspaper of general circulation published in the

City of Houston, Texas, and within the Southern District of Texas, such publication in said paper

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to be once in each week until the return date and for at least four successive weeks before the
returm date of such Notice; and it is further,

ORDERED, that no later than the date of the second publication of such Notice of
Complaint and Petition, Petitioners shal] mail a copy of the Notice of Complaint and Petition to
every person known to have made any claim or filed any actions against the MODU Deepwater
Horizon or Petitioners arising out of the voyage described in the Complaint and Petition herein

and to any such person's attorney, if known; and it is further,

“TS ORDERED, ‘that the beginning Gr continied prosecution Of any “and “all Suits; actions or"

legal proceedings of any nature or description whatsoever, in any jurisdiction except in this
action, against Petitioners, the MODU Deepwater Horizon, in rem, their agents, officers,
representatives, and their underwriters or against any employee or property of the Petitioners, or
any other person whatsoever for whom Petitioners may be responsible, in respect of any claim
arising out of, consequent upon, or in connection with the aforesaid voyage of the MODU
Deepwater Horizon, be, and they ere hereby ENJOINED, STAYED and RESTRAINED until the
hearing and termination of this proceeding; and its is further,

ORDERED, that service of this Order as a Restraining Order may be made within this
District by certified mail, or in the usual menner, and in any other District by the United States
Marshal for such District by delivering a certified copy of this Order to the person or persons to
be restrained or to his or their respective attorneys, or in the usual manner by mailing or hand
delivering a conformed copy thereof to the person or persons to be restrained or to his or their

respective attomeys, and in any other country by means of overseas air mail.

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DONE at Houston, Texas, this / 3 Ky of tM ae , 2010.

ont STATES DISTRICT JUDGE

APPROVED AND ENTRY REQUESTED:

Wesleyan Tower

24 Greenway Plaza

Suite 2050

Houston, Texas 77046

(713) 355-6062 — Telephone
(713) 572-9129 — Facsimile

ATTORNEY IN CHARGE FOR PETITIONERS
TRITON ASSET LEASING GMBH, TRANSOCEAN
HOLDINGS LLC, TRANSOCEAN OFFSHORE
DEEPWATER DRILLING INC., AND
TRANSOCEAN DEEPWATER INC.

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